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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 U.S. NAVY SEALs 1–26, et al.,                      §
                                                    §
         Plaintiffs,                                §
                                                    §
 v.                                                 §   Civil Action No. 4:21-cv-01236-O
                                                    §
 LLOYD J. AUSTIN, III, et al.,                      §
                                                    §
         Defendants.                                §

                                               ORDER

         On July 6, 2023, the United States Court of Appeals for the Fifth Circuit handed down its

decision on the preliminary injunction in this case. The mandate for that opinion will soon issue on

August 28, 2023. Barring any changes to the Fifth Circuit’s decision, the Court hereby ORDERS

supplemental briefing on the following three subjects:

      1.) The parties shall brief the continued viability of any arguments previously raised before this

         Court and explicitly addressed by the Fifth Circuit.

      2.) The parties shall brief the continued viability of any arguments previously raised before this

         Court and not explicitly addressed by the Fifth Circuit.

      3.) The parties shall raise any new arguments relating to the issue of mootness which have not

         heretofore been presented to the Court.

         The parties SHALL submit cross-briefing on these topics and any others they deem relevant.

To that end, the parties shall submit their initial briefs by September 12, 2023. The parties shall

submit their responses by September 19, 2023. Finally, due to the need to collect supplemental

briefing, the Court hereby DEFERS ruling on Defendant’s Assertion of Mootness (ECF No. 221) at

this time.

         SO ORDERED on this 14th day of August, 2023.

                                                            _____________________________________
                                                            Reed O’Connor
                                                            UNITED STATES DISTRICT JUDGE
